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      Abrams & Wofsy, Esqs.
      255 Newark Avenue
      Jersey City. New Jersey 07302
      (201) 659-5500


     UNITED STATES OF AMERICA                        UNITED STATES DiSTRICT COURT
                                                     DISTRICT OF NEW JERSEY
                vs.                          :       HON. STANLEY R. CHESLER
                                                     CRIMINAL NO. I I -00277(SRC)
     MELVIN FERNANDEZ,

                      Defendant.
                                                                     ORDIR



             This matter being opened to the Court by Abrams & Wofsy, Esqs., attorneys

     defendant, Melvin Fernandez, Arthur J. Abrams, Esq. appearing with the consent of Pa

     Fishman, the United States attorney for the District of New Jersey, Assistant United S

     Attorney Anthony 3. Mahajan. appearing for an Order releasing the defendant’s United S

    passport from the custody of United States Pre-Trial Services until Tuesday, September 4,

    and permitting the defendant to travel to the state of Florida on August 25, 2012 and allo

    him to travel out of the United States from August 27. 2012 to August 31, 2012 and the Ui

    States Attorney consenting thereto and good cause being shown;

            ITiSonthis                 dayofJfjS ,2012

            ORDERED that Pre-Trial Services return defendant Melvin Fernandez’s United Si

    passport to defendant on August 24, 2012 until September 4, 2012 after the Labor Day wee

    when Pre-Trial Services reopens, at which time defendant Melvin Fernandez shall once a

    surrender his passport to Pre-Trial Services and it is further
Case 2:11-cr-00277-SRC            Document 283       Filed 08/20/12       Page 2 of 2 PageID: 3452
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                ORDERED that Melvin Femandc be permuted to 1eac the state of New Jemy
                                                                                               to t
        to mhc stale of Fiorda en Awut 25. 2(M2 and further be perrnited to travel
                                                                                      out of th U
        Stat from ugust27. 2012 to August 31. 20P and thereafter return
                                                                          to   te of New




                                                 United        District Court Judge
        I berebv Cofl5eflt to the form
        and entry of ilte within Order
                  -
           —          -—
        Anthony Mahajan. AUSA
